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                      UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE
                   WESTERN DIVISION


NATIONWIDE MUTUAL FIRE                          JUDGMENT IN A CIVIL CASE
INSURANCE COMPANY

v.

LAWRENCE NORTON, and AURORA                     CASE NO: 09-2089-A
LOAN SERVICES, LLC and GMAC
MORTGAGE, LLC




DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED        that in accordance with the
Stipulated Order Of Dismissal With Prejudice entered on December 7,
2009, this cause is hereby dismissed with prejudice.




APPROVED:


s/ S. Thomas Anderson
UNITED STATES DISTRICT COURT

DATE: 1/6/2010                                THOMAS M. GOULD
                                         Clerk of Court


                                                s/Terry L. Haley
                                         (By)    Deputy Clerk
